    Case 2:25-cv-00197-JCZ-DPC     Document 58-1   Filed 03/11/25   Page 1 of 8




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

Hiran Rodriguez,
              Plaintiff,                Civil Action No. 2:25-cv-00197
                     v.
                                        Section A(2)
Meta Platforms, Inc., Apple Inc., T-
                                        Judge Jay C. Zainey
Mobile USA, Inc., AT&T Enterprises,
LLC, X Corp., a Nevada Corporation, Magistrate Judge Donna Phillips Currault
Kansas City Southern Railroad Co.,
LCMC Healthcare Partners, LLC,
Third District Volunteer Fire
Department, Gray Television, Inc.,
The Associated Press, Jefferson Parish,
Jefferson Parish Sheriff’s Office,
Joseph P. Lopinto, III, Andres Fuentes,
Gloria Pazmino, Haleluya Hadero,
Susanne Rust, Ryan McCafferty, Paul
MacInnes, Jonathan Liew, James
Ochoa, Demicia Inman, Jamie
Spangher, Maya Gebeily, Versha
Sharma, Elon Musk, Mark Elliott
Zuckerberg, and Does 1-10,
              Defendants.

       MEMORANDUM IN SUPPORT OF DEFENDANT KANSAS CITY
          SOUTHERN RAILWAY CO.’S MOTION TO DISMISS

         Hiran Rodriguez, appearing here pro se, asserts myriad claims against a

diverse group of defendants. His Complaint, however, contains no factual

allegations to support even a single claim against Defendant the Kansas City




                                        1
5234390.v1
    Case 2:25-cv-00197-JCZ-DPC        Document 58-1      Filed 03/11/25    Page 2 of 8



                                            1
Southern Railway Company (“KCSR”).              Moreover, four of his claims fail as a

matter of law. The Court should therefore dismiss all of Mr. Rodriguez’ claims

against KCSR in their entirety, and with prejudice, pursuant to Federal Rule of Civil

Procedure 12(b)(6) and 28 U.S.C. § 1915(e)(2)(B)(i)-(ii).

                            RELEVANT BACKGROUND
         Mr. Rodriguez initiated this lawsuit on January 29, 2025, asserting a total of

15 causes of action against all 37 Defendants. Dkt. 1 at 18-21. The causes of action

include alleged infringements of federal constitutional rights as well as federal

statutory violations and various state law claims. Id. Mr. Rodriguez appears to allege

some vast conspiracy to injure him, with the list of alleged conspirators including

journalists, a volunteer fire fighting unit, a railroad, and a social media company

(among others), but his Complaint does not allege any actual facts to support any of

his legal claims. Critical to this motion, there are absolutely no factual allegations

involving KCSR or detailing its alleged participation in any of the causes of action

asserted against “Defendants” collectively. See generally id.

         The Complaint attaches correspondence Mr. Rodriguez sent to four of the co-

Defendants. See Dkt. 1-1. From these letters, it appears that at least some of his

claims arise from an alleged hacking incident of Mr. Rodriguez’ Meta and Apple

accounts beginning around June 2024. Id. at 1, 5. Mr. Rodriguez appears to further




1 The Complaint incorrectly refers to KCSR as “Kansas City Southern Railroad Company.”

                                            2
5234390.v1
     Case 2:25-cv-00197-JCZ-DPC      Document 58-1      Filed 03/11/25   Page 3 of 8




allege that these hacks occurred through two internet service connections provided

by Defendants AT&T and T-Mobile. See id. at 9, 11. Neither attachment mentions

KCSR nor alleges that KCSR – a railroad – took any action related to these

purported hacking incidents. See generally id.

         Because Mr. Rodriguez’ Complaint fails to state any cause of action upon

which relief can be granted, this Court should grant KCSR’s motion to dismiss all

claims asserted against it.

                                    ARGUMENT
I.       THE COMPLAINT FAILS TO PLEAD ANY SPECIFIC FACTUAL
         ALLEGATIONS AGAINST KCSR UPON WHICH MR. RODRIGUEZ
         CAN OBTAIN THE REQUESTED RELIEF.

         “To survive a motion to dismiss under Rule 12(b)(6), a plaintiff's complaint

‘must contain enough facts to state a claim to relief that is plausible on its face.’”

Miller v. Stuart, No. 24-2890, 2025 U.S. Dist. LEXIS 25914, at *4 (E.D. La. Feb.

13, 2025) (quoting Varela v. Gonzales, 773 F.3d 704, 707 (5th Cir. 2014)). A claim

is plausible on its face “when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “[R]egardless of

whether the plaintiff is proceeding pro se or is represented by counsel, conclusory

allegations or legal conclusions masquerading as factual conclusions will not suffice

to prevent a motion to dismiss.” Taylor v. Books A Million, Inc., 296 F.3d 376, 378

(5th Cir. 2002) (quotation omitted).


                                           3
5234390.v1
    Case 2:25-cv-00197-JCZ-DPC           Document 58-1        Filed 03/11/25      Page 4 of 8




         The Complaint contains no factual allegations regarding KCSR, much less

plausible factual allegations that KCSR did anything wrong. The attachments to the

Complaint that do name specific co-Defendants do not name and in no way implicate
             2
KCSR. Rather, the Complaint contains only conclusory allegations, which, at most,

mirror the elements of the legal claims. These types of unsupported allegations are

subject to dismissal. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (“[A]

formulaic recitation of the elements of a cause of action will not do.”).

         The Complaint also alleges that Defendants collectively engaged in various

federal and state violations. But it is well-settled that “allegations based on a ‘theory

of collective responsibility’ cannot withstand a motion to dismiss.” Martinez v. City

of N. Richland Hills, 846 Fed. App’x. 238, 243 (5th Cir. 2021); Floyd v. Dillmann,

614 F. Supp. 3d 454, 460-61 (E.D. La. 2022). Such allegations – absent any specific

factual assertion against a particular defendant – fail to adequately place that

defendant on notice of what “he or she did that is asserted to be wrongful,” a

fundamental entitlement under the “system of notice pleading” established by the

Federal Rules of Civil Procedure. Bank of Am., N.A. v. Knight, 725 F.3d 815, 818



2 In a recent motion, Mr. Rodriguez raised an additional concern that train operators near his
residence subjected him to “targeted harassment . . . through illegally obtained surveillance and
excessive use of train horns directed at [him].” Dkt. 29. These allegations (which do not name
KCSR), and any other factual allegation that Mr. Rodriguez may raise in opposition are “outside
the complaint” and should not be considered. Douglas v. Renola Equity Fund II, LLC, No. 13-
6192 2014 U.S. Dist. LEXIS 33518, at *9 (E.D. La. Mar. 14, 2014) (citing Fin. Acquisition
Partners LP v. Blackwell, 440 F.3d 278, 289 (5th Cir. 2006)). Nevertheless, even if the allegations
are taken as true, they would still be insufficient to state any of the claims in the Complaint.

                                                4
5234390.v1
      Case 2:25-cv-00197-JCZ-DPC       Document 58-1     Filed 03/11/25    Page 5 of 8




(7th Cir. 2013).

         The Complaint is thus devoid of any factual foundation to state and support

any claim against KCSR. This Court, therefore, should dismiss all claims against

KCSR, in their entirety and with prejudice, as discussed below.

II.      PLAINTIFF’S CONSTITUTIONAL CLAIMS FAIL AS AGAINST
         KCSR BECAUSE KCSR IS NOT A GOVERNMENT ACTOR.

         Claims for relief may also be foreclosed “on the basis of a dispositive issue of

law.” Julapalli v. Boom, No. 24-20276, 2025 U.S. App. LEXIS 1891, at *4-5 (5th

Cir. Jan. 28, 2025) (quoting Neitzke v. Williams, 490 U.S. 319, 326 (1989)). Here,

Mr. Rodriguez asserts four counts alleging that Defendants violated the First, Fourth,

Fifth, and Fourteenth Amendments to the United States Constitution. See Claims II,

III, IV, and XV. But KCSR is a private company, not a government actor, and these

Amendments generally do not and cannot regulate or proscribe “mere private

conduct.” Julapalli, 2025 U.S. App. LEXIS 1891, at *5-6 (citing Cornish v. Corr.

Servs. Corp., 402 F.3d 545, 549 (5th Cir. 2005)); see also United States v. Reddick,

900 F.3d 636, 637 (5th Cir. 2018).

         For a private party to be liable under the federal Constitution, its conduct must

have been “fairly attributable to the state.” Julapalli, 2025 U.S. App. LEXIS 1891,

at *8-9 (dismissing pro se complaint alleging similar violations against a hospital

because the hospital was not a state actor). Here, the Complaint fails to allege any

conduct by KCSR that is “fairly attributable” to the state.


                                             5
5234390.v1
    Case 2:25-cv-00197-JCZ-DPC        Document 58-1     Filed 03/11/25    Page 6 of 8




         Additionally, Count VI attempts to assert a claim under 18 U.S.C. § 241, a

criminal statute which does not give rise “to a private right of action.” Pittman v.

Campbell, No. 24-2168, 2025 U.S. Dist. LEXIS 17425, at *19 (E.D. La. Jan. 31,

2025). Therefore, Mr. Rodriguez’ § 241 claim also fails as a matter of law.

         Claims II, III, IV, and XV must be dismissed for this additional reason as they

fail as a matter of law.

III.     THE CLAIMS AGAINST KCSR SHOULD BE DISMISSED WITH
         PREJUDICE

         Claims that are patently frivolous or irrational may be dismissed with

prejudice. See Farguson v. MBank Houston, N.A., 808 F.2d 358, 359 (5th Cir. 1986)

(upholding dismissal with prejudice where pro se complaint was “frivolous and

irrational.”). Here, Mr. Rodriguez alleges that 37 diverse Defendants, the majority

of whom have no relationship whatsoever with one another, engaged in a vague and

incoherent conspiracy to harass Mr. Rodriguez personally, though he alleges no

specific facts to support any of his claims. His claims are thus manifestly frivolous

and irrational and should be terminated with prejudice.

                                    CONCLUSION
         For the foregoing reasons, KCSR respectfully requests that this Court grant

its motion to dismiss all claims against it in their entirety, with prejudice.




                                            6
5234390.v1
    Case 2:25-cv-00197-JCZ-DPC   Document 58-1   Filed 03/11/25   Page 7 of 8




                             Respectfully submitted,

                             BREAZEALE, SACHSE & WILSON, L.L.P.,

                             By:/s/ Philip J. Giorlando
                             Eve B. Masinter (La. Bar No. 1218)
                             Philip J. Giorlando (La. Bar No. 38234)
                             First Bank & Trust Tower, Suite 1500
                             909 Poydras Street
                             New Orleans, LA 70112-4004
                             Telephone: (504) 619-1800
                             Fax: (504) 584-5452
                             eve.masinter@bswllp.com
                             philip.giorlando@bswllp.com


                             DORSEY & WHITNEY LLP

                             F. Matthew Ralph (#0323202) (Motion for Pro
                             Hac Vice Admission Forthcoming)
                             ralph.matthew@dorsey.com
                             J. Steele Kowalczyk (#0505641) (Motion for Pro
                             Hac Vice Admission Forthcoming)
                             kowalczyk.steele@dorsey.com
                             50 South Sixth Street, Suite 1500
                             Minneapolis, MN 55402
                             Telephone: (612) 340-2600
                             Facsimile: (612) 340-2868

                             Attorneys for Kansas City Southern Railway
                             Company




                                      7
5234390.v1
    Case 2:25-cv-00197-JCZ-DPC       Document 58-1     Filed 03/11/25   Page 8 of 8




                           CERTIFICATE OF SERVICE

         I hereby certify that on this 11th day of March, 2025, the foregoing pleading

was electronically filed with the Clerk of Court using the CM/ECF system and

served on the Plaintiff by U.S. Mail.

                                                     /s/ Philip J. Giorlando
                                                     Philip J. Giorlando




                                           8
5234390.v1
